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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION

ROBERT KIM JONES                                                      PLAINTIFF

V.                        NO. 4:21-cv-00779-LPR-ERE

TISH JHONSON, et al.                                              DEFENDANTS

                       RECOMMENDED DISPOSITION

I.    Procedure for Filing Objections

      This Recommendation for the dismissal of Mr. Jones’ claims has been sent to

United States District Judge Lee P. Rudofsky. You may file written objections to all

or part of this Recommendation. Any objections filed must: (1) specifically explain

the factual and/or legal basis for the objection; and (2) be received by the Clerk of

this Court within fourteen (14) days of the date of this Recommendation. If no

objections are filed, Judge Rudofsky may adopt this Recommendation without

independently reviewing all of the evidence in the record. By not objecting, you may

waive the right to appeal questions of fact.

II.   Discussion

      On September 2, 2021, Marcus Walton, an inmate at the Dallas County

Detention Center, filed this § 1983 lawsuit pro se on behalf of himself and 13 other

inmates, including Plaintiff Robert Kim Jones. Pursuant to Court policy, the lawsuit

was separated into 14 separate cases. The Court allowed each Plaintiff to pursue their
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own claims in their own lawsuit. Doc. 1.

       Mr. Jones did not file a complete application for leave to proceed in forma

pauperis (IFP) including a jail account information sheet signed by an authorized

official; nor did he pay a filing fee. Accordingly, on September 7, 2021, the Court

directed the Clerk of Court to provide Mr. Jones with an IFP application and ordered

him to do one of the following, within 30 days: (1) return a completed IFP

application, along with a jail account information sheet; or (2) pay the $402.00 filing

fee. Doc. 2. The Court specifically warned Mr. Jones that, if he failed to comply with

the Court’s Order, this lawsuit would be dismissed. Id.

       To date, Mr. Jones has not addressed the filing-fee requirement, and the time

to do so has passed.

III.   Conclusion

       The Court recommends that Mr. Jones’ claims be DISMISSED, without

prejudice, based on his failure to: (1) respond to the Court’s September 7, 2021

Order; (2) submit a completed IFP form or pay the filing fee; and (3) prosecute this

lawsuit.

       DATED this 8th day of October, 2021.




                                        ___________________________________
                                        UNITED STATES MAGISTRATE JUDGE


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